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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
     In re:                                      :   Chapter 11
                                                 :
     Stream TV Networks, Inc., et al.            :   Bankruptcy No. 23-10763 (MDC)
                                                 :
                            Debtors.             :   (Jointly Administered)
                                                 :
                                                 :
     STREAM TV NETWORKS, INC. and                :
     TECHNOVATIVE MEDIA, INC,                    :
                                                 :
                            Plaintiffs,          :
                                                 :
                     v.                          :   Adversary No. 23-0057 (MDC)
                                                 :
     SHADRON L. STASTNEY, et al.,                :
                                                 :
                            Defendants.          :
                                                 :

      ORDER FURTHER EXTENDING ALL RESPONSIVE PLEADING DEADLINES

          AND NOW this Court having entered an Order on January 5, 2024 (the “Trustee

 Appointment Order”), directing the United States Trustee’s Office (the “UST”) to immediately

 commence the process of appointing a chapter 11 trustee in the above-captioned jointly

 administered bankruptcy cases (the “Bankruptcy Cases”). 1

          AND on January 9, 2024, the United States Trustee appointed William A. Homony (the

 “Trustee”) to serve as the chapter 11 trustee in the Bankruptcy Cases. 2

          AND on January 10, 2024, this Court entered an Order extending all current deadlines in

 the Bankruptcy Cases and the above captioned Adversary Proceeding for 30 days from the January

 10, 2024, subject to further extension sua sponte or upon motion and a hearing.3


 1
   Bankr. Docket No. 549.
 2
   Bankr. Docket No. 554.
 3
   Bankr. Docket No. 556.


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          AND on January 24, 2024, this Court conducted a status hearing wherein, inter alia,

 counsel to the Trustee indicated that, based upon the voluminous nature of the proceedings in

 Bankruptcy Court, the United States District Court for the Eastern District of Pennsylvania and

 the Delaware Chancery Court, the Trustee would need additional time to review pleadings and

 other documents in order to determine the best course of action for the Debtors’ bankruptcy estates

 and therefore, a further extension of the deadlines in the Bankruptcy Cases and the Adversary

 Proceeding was desirable and necessary.

          AND counsel to the Trustee having consulted with the parties present at the status

 conference about the contents of this Order.

          It is hereby ORDERED, ADJUDGED, AND DECREED that all current deadlines in the

 Bankruptcy Cases and the Adversary Proceeding are hereby EXTENDED until further order of

 this Court, and it is further

          ORDERED that the temporary restraining order entered on January 5, 2024 [Adversary

 D.N. 119] in the above captioned adversary proceeding is hereby EXTENDED to until 0D\ ,

 2024 and the Final Hearing shall be held on 0D\ , 2024, at 10:30 a.m. (ET) in Bankruptcy

 Courtroom No. 2, Robert N.C. Nix Federal Building, 900 Market Street, 2nd Floor,

 Philadelphia, Pennsylvania, and it is further

          ORDERED that a further status hearing shall be held in these cases on 0DUFK, 2024

 at : S.m., E\ YLGHR FRQIHUHQFH RQ   =220*29FRP  ZLWK  0HHWLQJ ,'    

 DQG3DVVFRGH.


 Dated:      February 28, 2024
                                                The Honorable Magdeline D. Coleman
                                                Chief United States Bankruptcy Judge




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